ATTORNEY-CLIENT AGREEMENT

This Agreement is made July 7, 2020 between Gobind Singh, 1982 24 Avenue, Apt. 3C,
New York, New York 10029 for and on his behalf (“Client”), and Edward Moor from the Moor
Law Office, P.C. (hereinafter “Attorney”).

ki Client employs Attorney to be lead counsel in order to settle and/or try his federal
and state claims against Vanderbilt University Medical Center and Vanderbilt University
(collectively “Vanderbilt”) relating to harassment, discrimination and termination of Client in
violation of the Americans with Disabilities Act, defamation, and tortious interference with
business relations including those with New York Medical College/Westchester Medical Center.
These claims will be handled on a mixed fee basis as described below.

2 Client is employing Attorney to investigate, file, and try his claims against
Vanderbilt. Attorney will not provide any other additional legal services to Client other than those
related to the above without a separate written fee agreement for any additional work. If Client
desires to ask Attorney to handle a post-trial motion or an appeal of an adverse or unsatisfactory
result in the trial court, a separate agreement will be negotiated and executed if Attorney agrees to
handle any post-trial motion or appeal. In a satisfactory result, Attorney agrees handle any post-
trial motion or appeal.

3. Client further agrees as follows:

a. To pay Attorney a General Retainer of $20,000 upfront, earned when paid;
b. To pay Attorney the greater of a) a contingent fee of 33 and 1/3% of any/all
sums recovered, or b) statutory attorney’s fees awarded by the Court. If
recovery by settlement or verdict exceeds $300,000, the Attorney will
deduct the $20,000 paid as a General Retainer from the amount owed by
Client under this paragraph. If recovery does not exceed $300,000, no
deduction will be made from the amount Client owes under this paragraph;
c. From any sums recovered to pay all costs and expenses incurred in the
pursuit of Client’s claims, including but not limited to filing fees or fees
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associated with service of process, expert fees, investigator fees, expenses
of discovery proceedings, including but not limited to, costs of court
reporters, transcripts, duplication of exhibits, and for all other such costs,
including but unlimited to postage, telephone charges, fax and copy charges
and costs associated with computer legal research services. Attorney may
advance such costs, and Client will reimburse Attorney for such costs and
expenses from any and all sums recovered after the contingent fee is
deducted.

d. Attorney shall have an attorneys’ lien on any sums recovered. “Any sums
recovered” refers to the total of any and all money recovered before the
costs and expenses referenced in paragraph (3)(c), above are deducted.

e. Attorney agrees to petition for any and all attorney/client fees, costs,
expenses that may be available and handle any related post-trial motion or

appeals.
4, Client has had prior counsel on this case and understands that those attorneys may

claim a lien on any sums recovered by settlement or verdict. While Attorney will represent Client
and contest prior counsel’s right to payment (if a good faith basis exists) and will contest the
amount of their claim(s), Client understands that any sums prior counsel might be determined to
be entitled to through negotiation or court ruling will not reduce the amount that Client owes
Attorney under paragraph 3, above, and Client must satisfy any such claims from his share of the
recovery.

5. Client retains the right to terminate this Agreement and to direct Attorney to
terminate any settlement negotiations being conducted on his behalf. Attorney may terminate the
relationship upon 30 days’ email notice with good cause. Attorney and Client agree to keep each
other up to date on all major developments in the case, including trial dates.

6. Attorney may, from time to time and at his discretion, delegate work on and/or
collaborate in this matter with attorneys not employed by Attorney. Any fees due Attorney,
pursuant to paragraph 3(a) or (b) above, will be allocated among and divided between Attorney

and such other non-employee attorneys in proportion to the services performed and responsibility

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assumed by each and will not result in any additional fees being charged to Client. Attorney agrees
to provide full names of such persons beforehand to Client.

7s Jeffrey Weisman referred Client to Attorney. Attorney has agreed to share 5% of
his final fee with Weisman. Client expressly consents to this arrangement. Client and Attorney
have agreeded to retain local counsel to assist with case. Client agrees to pay the fees of local
counsel, if any. Client and Attorney expressly consents to this arrangement.

8. In deciding to enter into this Agreement, the undersigneds have relied only upon
the representations herein and no others.

9. The parties agree that any dispute or controversy relating to the enforcement,
application or interpretation of this Agreement will be governed by the laws of the State of
Illinois, further agree that any action relating to same will be brought only in the Circuit Court of
Cook County, Illinois, and agree hereby to waive any objections to the personal jurisdiction of and
venue in that court, and will waive service of process except by certified mail and that, in any such
action.

In witness thereof the parties have executed this Agreement on July 7, 2020.

Edward Moor, MOOR LAW OFFICE, P.C. Gobind Singh, MD PhD

Aww dh ND fd

Edward R. Moor

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